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                    THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF ALASKA



BRISTOL BAY ECONOMIC
DEVELOPMENT CORPORATION, et al.,

                    Plaintiffs,
      v.                                    Case No. 3:19-cv-00265-SLG

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of the
U.S. Environmental Protection Agency
Region 10, et al.,

                    Defendants,
      and

STATE OF ALASKA,
              Intervenor-Defendant.
SALMON STATE, et al.,

                    Plaintiffs,
      v.

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of the
U.S. Environmental Protection Agency          Case No. 3:19-cv-00267-SLG
Region 10, et al.,

                 Defendants.
____________________________________

TROUT UNLIMITED,

                    Plaintiff,
      v.

MICHELLE PIRZADEH, in her official
capacity as Regional Administrator of the     Case No. 3:19-cv-00268-SLG
U.S. Environmental Protection Agency
Region 10, et al.,

                    Defendants.


PLAINTIFFS’ RESPONSE TO PEBBLE LIMITED PARTNERSHIP’S MOTION
                        TO INTERVENE

      Without waiving or conceding any facts alleged or legal positions asserted in Pebble

Limited Partnership’s (“PLP’s”) Motion to Intervene (ECF #89), Plaintiffs take no position

on PLP’s motion.




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PLFS. RESPONSE TO PLP’S MOT. TO INTERVENE
Dated: September 9, 2021      Respectfully submitted,

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PLFS. RESPONSE TO PLP’S MOT. TO INTERVENE
